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                             UNITED STATES DISTRICT COURT

                            NORTHERN DISTRICT OF ILLINOIS


FlavaWorks Entertainment, Inc.,​      ​      )
Blatino Media, Inc.,​ ​       ​       ​      )
​      ​       ​      Plaintiff,​     ​      )​         Case No. : 1:24-cv-09725
​      ​       ​      ​       ​       ​      )
​      v.​     ​      ​       ​       ​      )​
​      ​       ​      ​       ​       ​      )​         JURY TRIAL DEMANDED
,​     ​       ​      ​       ​       ​      )
John Doe 1, et al

                                      STATUS REPORT


   1.​ Plaintiffs have received subpoena responses from Yahoo, Google, and NetZero and are

       awaiting additional responses from Google to aid in efforts to identify and name

       additional Defendants.

   2.​ Plaintiffs have successfully served Peter Sacco and Christian Millett. An attorney for

       Peter Sacco has entered an appearance in this case.

   3.​ Plaintiffs have been unable to serve the remaining named Defendants despite diligent

       efforts and will continue attempts at service.

   4.​ Plaintiffs have voluntarily dismissed Defendant John Doe 19 and Defendant Joel

       Lewitzky from this action, and appropriate filings have been made with the Court.


       Dated:February 4, 2025​        ​      ​          Respectfully submitted,
                                                        /s/ Hameed Odunewu
                                             ​          Attorney for Plaintiffs
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                              CERTIFICATE OF SERVICE

The undersigned attorney certifies that on February 4, 2025, a true and correct copy of the
foregoing Initial Status Report was filed electronically with the Clerk of the Court using the
CM/ECF system, which will send notification of such filing to all attorneys of record.

                                                             /s/ Hameed Odunewu​
                                                     ​       Attorney for Plaintiffs
